                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                              )
        v.                                    )         CASE NO. 1:11-CR-102
                                              )
 JULIO BARBOSA, SR.                           )


                                            ORDER

        On June 10, 2013, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts One

 and Ten of the Third Superseding Indictment in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

 set forth in Counts One and Ten of the Third Superseding Indictment; (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

 in custody pending sentencing in this matter (Court File No. 218). Neither party filed an

 objection within the given fourteen days. After reviewing the record, the Court agrees with the

 magistrate judge=s report and recommendation.         Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1)

 and ORDERS as follows:

        (1) Defendant=s plea of guilty to Counts One and Ten of the Third Superseding Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

 Ten of the Third Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;



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 and

        (4) Defendant SHALL BE IN CUSTODY pending sentencing on Thursday, September

 12, 2013, at 2:00 pm.

        SO ORDERED.

        ENTER:
                                       /s/
                                       CURTIS L. COLLIER
                                       UNITED STATES DISTRICT JUDGE




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